 

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

District of Oregon

Case number( (:11"¢[6/») Chapter you are Hling under:
dChapler 7

|:l Chapter11
Ei Chapter12
m Chapter13

 

amended filing

 

official Form 101
Vo|untary Petition for individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together_ca||ed a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m identify Yourse|f

1. Your full name

AboutDebtor1: About Debtor 2 (Spouse Only in a Joint Case):

V\/rite the name that is on your Pame‘a
government-issued picture

 

 

 

identification (for example, F‘rst "_ame FirSt name
your driver's license or NOV|SCa
passpOl'i). Middie name Middle name
Bring your picture Crawford

Last name

identification to your meeting '-ES* name
with the trustee.

 

 

 

 

 

 

 

 

 

 

 

Suffi)< (Sr., Jr., |l, ||l) Sufiix (Sr., Jr'. l|, I|i)
2. A|| other names you
have used in the last 8 First name First name
years
include your married Or N|lddl€ name Mlddl€ name
maiden names
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. On|y the last 4 digits of
your Socia| Security XXX _ XX _ _2 _3 1 4_ XXX _ XX _ _ __ ___ _______
number or federal OR OR
lndividual Taxpayer 9 9
identification number XX ` XX __ _ _ _ XX _ XX __ _ _ ___
(ITiN)
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Debrori Pameia Novisca Crawford

Firsthme Mlddle Narne

Last Narne

Case number rrrknown)

 

4. Any business names
and Employer
identification Numbers
(E|N) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

m i have not used any business names or EiNs,

About Debtor 2 (Spouse On|y in a Joint Case):

n | have not used any business names or Ele,

 

Business name

Business name

 

Business name

W_

Business name

H_

Er\i_

 

5. Where you live

1696 Fircrest Drive

if Debtor 2 lives at a different address:

 

 

 

 

Number Street Number Street

Lake Oswego OR 97034

City Staie ZlP Code Cify State ZlP Code
Ciaci<amas

County County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

 

 

 

 

Number Street Number Streei

P.O. Box P.O. Box

City State ZlP Code Ciiy State ZlP Code
6. Why you are choosing Check one.' Check one.'

this district to file for
bankruptcy

m Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district

n | have another reason Exp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

a Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district

m | have another reason. Exp|ain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

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Debtor 1

First Name

Pamela Novisca Crawford

M|ddle Name

Case number (ifknown)

Lasi Name ‘

m Teil the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7_ The chapter of the Check one. (For a brief description of each, see Not/'ce Requ/'red by 11 U.S.C. § 342(b) for lndividuals Fi//'ng
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under EZi Chapter 7
n Chapter 11
l`_'l Chapter 12
|;l Chapter 13
a.. How you will pay the fee Ci l will pay the entire fee when | file my petition. P|ease check With the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's checl<, or money order. if your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address
w l need to pay the fee in installments if you choose this option, sign and attach the
App/ication for /ndividua/s to Pay The Filing Fee /'n /nsta//ments (Officia| Form 103A).
Cl l request that my fee be waived (You may request this option only if you are nling for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the App/ication to Have the
Chapter 7 F/'/ing Fee Wa/'ved (Offlclal Form 1035) and file it with your petition.
9. Have you filed for w NO
bankruptcy within the v .
last 8 years? n Yes. Drstnct When Case number
MM/ DD/YYYY
Districi When Case number
MM/ DD/YYYY
District When Case number
rvrrvi/ DD/YYYY
10. Are any bankruptcy q NO
cases pending or being _ v
filed by a Spouse Who is n Yes. Debtor Relatronshrp to you
not f'lmg thls Ca_Se W'th Disirict When Case number, if known
you, or by a business Mivr / oo /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
rvri\/i / DD/YYYY
11' D° _y°U rent your m No. Go to line 12. ,
res'dence? m Ves. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

' Official Form 101

m No. Go to line 12.
E] Yes. Fi|| out lnitia/ StatementAbout an Eviction JudgmentAga/'nst You (Form 101A) and file it with
this bankruptcy petition. ~

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Debtor‘l Pamela NOViSCa CranOrd Case number (rr/<nawni

Flrsl Name Mlcidle Name l_ast Name

m Report About Any Businesses You Own as a Soie Proprietor

 

12. Are you a sole proprietor m No, 90 to pan 4,
of any full- or part-time
business? n Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
LLC' Number Street

 

Name of business lf any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition

 

 

city ` stare ziP code

Check the appropriate box to describe your business.'

n i~iealth Care Business (as defined in 11 U.S.C. § 101(27A))
l:l Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
n Stockbroker (as denned in 11 U.S.C. § 101(53A))

n Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

 

` 13. Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operationsl cash-flow statement and federal income tax return or if
are you a Sma” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtoi’?

_ _. m No. l am not filing under Chapter11.
For a definition of Sma//
buS'neSS debtorr 399 n No, l am filing under Chapter11, but l am NOT a small business debtor according to the definition in
11 U-S~C- § 101(51|3)~ the Bankruptcy Code.

L_.l Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

Report if Yoi.l Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any m NO
property that poses or is

 

 

alleged to pose a threat m Yes. What is the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

 

 

Number Street
City v State ZlP Code
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Debiori Pamela Novisca Crawford

Firsl Name Middle Name Lasi Name

Case number (ir)<nnwn)

m Exp|ain Your Efforts to Receive a Briefing About Credit Counseiing

15. Teil the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you nle for
bankruptcyl You must
truthfully check one of the
following choices if you
cannot do so, you are not
eligible to file.

lf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Officia| Form 101

About Debtor 1:

You must check one:

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and i received a
certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

g l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of compietion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agencyl but was
unable to obtain those services during the 7
days after i made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a SO-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasonsl you must
still receive a briefing Within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, ifany. if you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n i am not required to receive a briefing about
credit counseling because of:

n lncapacity. | have a mental illness or a mental
\ deficiency that makes me
incapable of realizing or making
rational decisions about finances

El Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. iam currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

n | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of compietion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment l

plan, if any.

m i certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days

cl l am not required to receive a briefing about
credit counseling because of:

n |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about hnances.

cl Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling you must file a
motion for waiver of credit counseling with the court,

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Debtor 1

Flrsl Name

Pamela Novisca Crawford

Middie Name

Case number (lrknown)
Last Name

m Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

iba. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C, § 101(8) _
as “incurred by an individual primarily for a personal, family, or household purpose.” ‘

m Nov Go to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation ofthe business or investment

m No, Go to line 160.
n Yesv Go to line 17,

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

1 17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

n No. l am not filing under Chapter 7. Go to line 18.

m Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and w NO
administrative expenses ,
are paid that funds will be n YeS
available for distribution
to unsecured creditors?
ia. How many creditors do EJ 1-49 D 1,000-5,000 E| 25,001-50,000
you estimate that you m 50-99 EI 5,001-10,000 lI| 50,001-100,000
owe? Cl 100-199 C] 10,001-25,000 l.'.l ivloroiban 100,000
Cl 200-999
19. How much do you El $0-$50,000 Cl $1,000,001-$10 million El $500,000,001-$1 billion

estimate your assets to
be worth?

. 20. How much do you
estimate your liabilities
to be?

m Sign Be|ow

Cl $50,001-$100,000
El $100,001-$500,000
El $500,001-$1 million

El $0-$50,000

E| $50,001-$100,000
El $100,001-$500,000
El $500,001-$1 million

El $10,000,001-$50 million
El $50,000,001-$100 million
Ei $100,000,001-$500 million

El $1,000,001-$10 million

ill $10,000,001-$50 million
U $50,000,001-$100 million
El $100,000,001-$500 million

U $1,000,000,001-$10 billion
El $10,000,000,001_$50 billion
l.".l iviore ihan $50 billion

L`.| $500,000,001-$1 billion

lI] $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
Cl i/lore than $50 billion

 

For you

 

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| have examined this petition, and l declare under penalty of perjury that the information provided is true and

correct.

lf| have chosen to file under Chapter 7, l am aware that l may proceed, if eligib|e, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

lf no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C` § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
With a bankruptcy case can result in fines up to $250.000. or imprisonment for up to 20 years, or both.
18 U.S.Q./ § 152, 1341, 1519, and 3571.

 

Signature of Debtor 1

Executed on f f U/ 025/§

l\/llVl /DD /YYYY

Signature of Debtor 2

Executed on _____________
lvilVl/ DD /YYYY

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Debtor1 Pam€ia NOViSCa Ci'€iWi:Oi'd Case number (irlmown)

First Name Middle Name Last Name

 

   

 

 

 

 

F ft _f |, the attorney for the debtor(s) named in this petitionl declare that l have informed the debtor(s) about eligibility
or your a omey’ ' you are to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code. and have explained the relief

 

represented by one available under each chapter for which the person is eligible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
if you are not represented knowledge after an inquin/ that the information in the schedules filed with the petition is incorrect
. by an attorney, you do not
need to file this page. X
l Date
Signature ofAttorney for Debtor Ml\/| / DD /YYYY

 

Prinied name

 

Flrm name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address
Bar number State

 

 

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DethM Pamela Novisca Crawford oas@nombeiinn.,mi

First Name M|ddle Name Last Name

 

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy Withu’¢ art should understand that many people find it extremely difficult to represent
attorney themselves successfully Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney

if you are represented by ,
an attorney, you do not To be successfu|. you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trusteel bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay

You must list ali your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property Thejudge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroyan or hiding property falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attorney the court expects you to follow the rules as if you had
hired an attorney The court will not treat you differently because you are filing for yourse|f. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Ru|es of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences’?

i;i No
m yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

El No

m Yes

Did you pay or agree to pay someone Who is not an attorney to help you fill out your bankruptcy forms?
m i\io

n Yes. Name of Person v
Attach Bankruptcy Petit/'on Preparer's Not/'ce, Dec/arat/'on, and Signature (Ofticial Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney |
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

X v /%/iicéo ézz'/a/JM x

 

 

 

 

 

 

 

Signature of Debtor1 Signature of Debtor 2
Date Date
MM/ DD /YYYY
Coniact phone (503) 574'0563 Contact phone
Cell phone (503) 574'0563 Cell phone
small address Pam€|BCVEWfOFd?>?>@QmGi|-COm Email address

 

 

 

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